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6
7                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
8
9
       SECURITIES AND EXCHANGE
10     COMMISSION,
                                                    Case No.
11                     Plaintiff,
12                                                  COMPLAINT
                vs.
13
       GEXCRYPTO CORP. (a/k/a
14     GexCrypto Global Trading Corp.) and
       EMILIANO S. RYN,
15
                       Defendants.
16
17         Plaintiff Securities and Exchange Commission (“SEC” or the “Commission”),
18
     alleges as follows:
19
20                                          SUMMARY

21         1.         Between October 2017 and July 2018, Emiliano “Emil” Ryn (“Ryn”)

22   defrauded 26 investors out of more than $800,000 in an investment scheme primarily
23
     targeted at elderly and technologically unsophisticated individuals in the expatriate
24
25   Filipino community in California. Ryn presented himself as a successful Filipino

26   entrepreneur in the cryptocurrency space, wearing a Rolex watch and driving a
27
     Maserati. He positioned himself as someone who would purportedly help members
28

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1    of his community also become rich through GexCrypto Corp. (a/k/a GexCrypto
2
     Global Trading Corp.) (“GexCrypto”), a purported first-of-its kind crypto asset
3
     trading platform, and via a purported separate crypto asset mining operation
4
5    established by Ryn. Deceived by Ryn and his fraudulent promises of guaranteed
6
     investment returns, investors turned over their life savings in cash to Ryn, with some
7
     even taking out home equity loans to invest with him.
8
9          2.     The first part of Ryn’s scheme involved the formation of GexCrypto,
10
     purportedly to launch a crypto asset trading platform. Ryn falsely represented to
11
12   investors the superiority of the GexCrypto trading platform’s technology and its one-

13   of-a-kind customer service. He did this through, among other ways, a professionally-
14
     produced video available on GexCrypto’s website and other statements on
15
16   GexCrypto’s website.

17         3.     In reality, GexCrypto was never operational and the descriptions of
18
     GexCrypto provided to investors were nothing more than Ryn’s aspirations.
19
20         4.     To raise money purportedly to support and develop further GexCrypto’s

21   trading platform, Ryn, through GexCrypto, conducted an initial coin offering (“ICO”)
22
     of GexCoins. The ICO was advertised publicly on GexCrypto’s website and social
23
24   media. The ICO was also promoted directly by Ryn to individual investors. Ryn and

25   GexCrypto made the same material misrepresentations about GexCrypto’s existing
26
     operations in marketing and advertising the ICO and guaranteed outsized returns to
27
28   investors despite the non-existent trading platform.

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1          5.      At the same time Ryn recruited investors for GexCrypto, he offered
2
     many of those same individuals the opportunity to invest in a purported crypto asset
3
     mining business in which Ryn would pool investor funds to purchase mining
4
5    equipment and pay investors returns based upon the amount of crypto assets mined
6
     (“the Mining Operation”). Several of Ryn’s investors invested in GexCrypto,
7
     GexCoin, and the Mining Operation. Ryn promised mining investors guaranteed
8
9    outsized returns and repeatedly lied to investors about the mining business’s
10
     operations.
11
12         6.      None of Ryn’s false promises materialized. No investment returns were

13   ever paid, and investors lost their entire investments.
14
           7.      As investors began to press Ryn about their promised returns and the
15
16   businesses’ operations, Ryn engaged in additional fraudulent lulling conduct by

17   making additional misstatements to investors. Among other things, Ryn: (1) created
18
     and distributed a second worthless digital token to investors, which he falsely passed
19
20   off as a GexCoin; (2) falsely told investors he was in the Philippines to register

21   GexCrypto with the Philippine regulators; and (3) provided two investors with a
22
     fraudulent bank statement purportedly showing that payment of their promised
23
24   distributions was imminent. Ultimately, Ryn halted all communications with

25   investors.
26
           8.      The investments Ryn offered and sold to investors in GexCrypto,
27
28   GexCoins, and the Mining Operation were securities.

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1          9.       Ryn did not register any of his offers or sales of GexCrypto or GexCoins
2
     with the Commission, no registration statement was in effect as to any offer or sale of
3
     GexCrypto or GexCoin, and no exemption from registration applied.
4
5          10.      As a result of the conduct alleged in this Complaint, Defendants violated
6
     Section 5 of the Securities Act of 1933 (“Securities Act”), 15 U.S.C. § 77e; Section
7
     17(a) of the Securities Act, 15 U.S.C. § 77q(a); and Section 10(b) and Rule 10b-5 of
8
9    the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. § 78j(b), 17 C.F.R.
10
     § 240.10b-5.
11
12         11.      The Commission respectfully requests the Court enter an order: (i)

13   permanently restraining and enjoining Defendants from violating the federal
14
     securities laws, and permanently restraining and enjoining Ryn from engaging in
15
16   certain further conduct; (ii) prohibiting Ryn from acting as an officer or director of

17   any issuer that has a class of securities registered pursuant to Section 12 of the
18
     Exchange Act or that is required to file reports pursuant to Section 15(d) of the
19
20   Exchange Act; (iii) directing Defendants to pay on a joint and several basis

21   disgorgement and prejudgment interest thereon; and (iv) directing Defendants to
22
     jointly and severally pay a civil money penalty.
23
24                                JURISDICTION AND VENUE

25         12.      The Court has jurisdiction over this action pursuant to Sections 20(b),
26
     20(d)(1) and 22(a) of the Securities Act, 15 U.S.C. §§ 77t(b), 77t(d)(1) and 77v(a),
27
28   and Sections 21(d)(1), 21(d)(3)(A), 21(e) and 27(a) of the Exchange Act, 15 U.S.C.

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1    §§ 78(u)(d)(1), 78u(d)(3)(A), 78u(e), and 78aa(a). Defendants have, directly or
2
     indirectly, made use of the means or instrumentalities of interstate commerce, of the
3
     mails, or of the facilities of a national securities exchange in connection with the
4
5    transactions, acts, practices and courses of business alleged in this Complaint.
6
           13.    Venue is proper in this district pursuant to Section 22(a) of the Securities
7
     Act, 15 U.S.C. § 77v(a), and Section 27(a) of the Exchange Act, 15 U.S.C. § 78aa(a),
8
9    because certain of the transactions, acts, practices and courses of conduct constituting
10
     violations of the federal securities laws occurred within this district. In addition,
11
12   venue is proper in this district because Defendants GexCrypto and Ryn operated or

13   resided in this district during the conduct.
14
                                         DEFENDANTS
15
16         14.    GexCrypto Corp. (a/k/a GexCrypto Global Trading Corp.)

17   (“GexCrypto”) is an entity, founded in 2017 and controlled by Ryn, which did
18
     business in Orange County, California, and purported to be “a comprehensive
19
20   Cryptocurrency trading platform backed by the world’s first fully incorporated

21   concierge service.” GexCrypto Global Trading Corp. was registered in Nevis from
22
     September 28, 2017 through February 4, 2020, but is not currently registered in any
23
24   jurisdiction. GexCrypto does not appear ever to have held any bank accounts,

25   property, or assets in its own name. GexCrypto has never been registered with the
26
     Commission in any capacity nor ever had a class of securities registered with the
27
28   Commission.

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1            15.   Emiliano S. Ryn, (“Ryn”), 47, currently resides in Las Vegas, Nevada.
2
     During the relevant period in 2017 and early 2018, Ryn resided in Irvine, California.
3
     Ryn founded GexCrypto in 2017, served as its Chief Executive Officer, controlling
4
5    all aspects of its business. Ryn also founded and controlled the Mining Operation.
6
                                   STATEMENT OF FACTS
7
     I.      Background Facts
8
9            A.    Ryn Creates GexCrypto
10
             16.   In 2017, Ryn founded GexCrypto in order to purportedly to develop a
11
12   crypto asset trading platform and create and distribute a digital token.

13           17.   Ryn hired an individual online to register GexCrypto in Saint Kitts &
14
     Nevis and obtained blank GexCrypto stock certificates.
15
16           18.   In the summer of 2017, Ryn found two freelance developers based in

17   India and hired them to create GexCrypto’s trading platform. The developers, as Ryn
18
     knew, had no experience building a crypto asset trading platform.
19
20           19.   As a first step, at Ryn’s direction, the developers created a website for

21   GexCrypto—www.gexcrypto.io—to advertise the trading platform’s capabilities and
22
     GexCrypto’s subsequent ICO of GexCoins. Ryn reviewed and approved the content
23
24   of GexCrypto’s website, which was available to the public worldwide without

25   restriction, including to U.S. investors.
26
             20.   GexCrypto’s website described GexCrypto as the first-of-its-kind crypto
27
28   asset trading platform, including as:

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1                  i.   “a comprehensive Cryptocurrency trading platform backed by the
                        world’s first fully incorporated concierge service”;
2
3                 ii.   “the most advanced Cryptocurrency trading platform powered by the
                        most trusted, reliable and experienced technical team.”; and
4
5                iii.   “hav[ing] an un-matched understanding of the Cryptocurrency market
                        as well as the global distribution of Cryptocurrency.”
6
7          21.      In describing what set GexCrypto apart from other currency trading
8
     platforms, the website stated that:
9
10                 i.   “We have diligently studied emerging international regulations and
                        changing economic scenes which affect the various aspects of
11                      Cryptocurrency in the marketplace.”
12
                  ii.   “The Cryptocurrency world is undergoing continuous change. There
13                      are countless important developments happening in numerous
14                      countries regarding regulating, controlling and structuring the
                        cryptocurrency market. Here at GexC we guarantee that we will
15                      continuously stay in front of all global developments related to the
16                      Cryptocurrency market.”

17         22.      The website also distinguished GexCrypto from other currency trading
18
     platforms based upon GexCrypto’s “superior market analysis tools to ensure our
19
20   users’ success” and “[s]uperior [r]esources and [p]ractices to [d]eliver [s]uperior

21   [t]echnology and [s]ervice.”
22
           23.      According to the website, GexCrypto’s “superior resources” included
23
24   “multi-language technical support” and a “technical team.”

25         24.      The website described the superior multi-language technical support as
26
     follows: “We speak the languages of our customers. We currently offer multi-lingual
27
28   24/7/365 user support in six languages: English, Japanese, Mandarin, Korean,

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1    Spanish, Russian and Hindi. As our user base grows we will be adding to this list to
2
     ensure all of our users’ questions or concerns can be addressed.”
3
           25.    The website described the superior technical team as “the world’s best
4
5    developers, coders and mathematicians who have diverse experiences in all niches
6
     related to DLTs and cryptography.”
7
           26.    The website identified GexCrypto’s “trusted, reliable, and experienced”
8
9    leadership team to include Ryn and three additional “co-founders”: the two India-
10
     based developers Ryn had hired online, who were identified as the “CTO” and
11
12   “Director of Operation,” and a third individual, the owner of a construction business,

13   who had made an early investment in GexCrypto.
14
           27.    The website identified GexCrypto’s Board to include a head of “PR &
15
16   Communications.” This individual, whose background was in engineering, asked

17   Ryn why he was listed as head of PR when he had no experience and was not
18
     performing that role. Ryn told him not to worry.
19
20         28.    The GexCrypto website also contained a link to a promotional YouTube

21   video about GexCrypto, which Ryn had hired a videographer to produce. In the
22
     video, actors discussed the revolutionary nature of blockchain technology and
23
24   GexCrypto’s role in it. The video repeated many of the same claims as on

25   GexCrypto’s website about its superior technology and services.
26
           29.    For example, one actor described GexCrypto as “the most advanced
27
28   cryptocurrency trading platform” and “totally unique from the rest of the market.”

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1    The actor further articulated what set GexCrypto apart: “Most of the trading
2
     platforms over the internet offer either coin or platform, but we offer a blend of both.
3
     Yes, coin and trading platform under one single roof. Secondly, we offer the world’s
4
5    first fully implemented user service.”
6
           30.    Along with the actors, Ryn appeared in a segment of his own in the
7
     video. In Ryn’s segment, he highlighted the expertise of GexCrypto’s management:
8
9    “We all have been a part of the crypto community since its inception and are
10
     successful entrepreneurs in several different market segments. We have more than 50
11
12   years of experience in management, risk analysis, compliance, and empower other

13   users of new underlying technology such as blockchain.” Ryn also emphasized
14
     GexCrypto’s “one hundred percent unique, innovative, and technically superior”
15
16   trading platform and GexCrypto’s mission “to deliver the highest possible level of

17   service to our users,” as well as “demonstrate[ing] an invincible technology
18
     leadership that will undoubtedly make GexCrypto an unsurpassed leader in the world
19
20   of ecurrency,” that may “unite the entire globe under one comprehensive trading

21   platform.”
22
           31.    The video further portrayed GexCrypto’s purported “world’s first fully
23
24   implemented concierge service” by showing a call bank of personnel answering

25   telephone calls.
26
           B.     Ryn Conducts an ICO of GexCoins
27
28         32.    In late 2017 and early 2018, Ryn created and sold GexCoin, a digital

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1    token issued by GexCrypto. As described throughout this Complaint, Ryn and
2
     GexCrypto pooled the funds raised from investors from the offers and sales of
3
     GexCoin in a common enterprise to build GexCrypto’s trading platform, and
4
5    investors had a reasonable expectation of profits based on the efforts of GexCrypto’s
6
     management and technical team.
7
           33.    GexCrypto solicited investors in a so-called “Initial Coin Offering” or
8
9    “ICO” via GexCrypto’s social media accounts and website, including through a
10
     White Paper published in or around November 2017 on GexCrypto’s website. Ryn
11
12   also personally solicited individual investors as described more fully below. Ryn’s

13   and GexCrypto’s solicitation of investors for the ICO was specifically directed at
14
     U.S. investors.
15
16         34.    As with GexCrypto’s website, the White Paper presented GexCrypto as

17   a fully-operational trading platform. For example, the White Paper described
18
     GexCrypto as “offer[ing] benefits and returns, above and beyond any other exchange
19
20   currently available” and that “[t]he Gex platform caters to both new and seasoned

21   traders with proprietary guided assistance tools to help users make educated
22
     investment decisions.”
23
24         35.    Similarly, the White Paper described the existing security features that

25   the GexCrypto trading platform offered, including: (i) “two-factor authentication;”
26
     (ii) “advanced verification software that maintains and monitors the integrity of the
27
28   account;” and (iii) “withdrawal protection,” which “makes the withdrawal process

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1    completely protected from unauthorized accesses.”
2
           36.    The White Paper also highlighted GexCrypto’s management and
3
     technical team as “the most trusted, reliable and experienced crypto veterans,” who
4
5    “have been part of the Cryptocurrency community since its inception,” and have a
6
     “deep understanding of the cryptocurrency market and its distribution worldwide.”
7
           37.    The terms of the GexCoin ICO were described on GexCrypto’s website
8
9    and in the White Paper. According to the White Paper, 50 million GexCoins were to
10
     be issued in the ICO’s pre-sale phase and 290 million GexCoins in the ICO phase.
11
12   During the pre-sale stage (November 11, 2017 – December 10, 2017), investors could

13   invest in GexCoins at a discounted price. If investors invested in the ICO before
14
     November 14, 2017, they also would receive “30% extra coin.” After the pre-sale,
15
16   investors could still purchase GexCoins, but at a higher price (during the pre-sale, 1

17   Bitcoin purchased 50,000 GexCoin, whereas afterward, 1 Bitcoin purchased 40,000
18
     GexCoin).
19
20         38.    The White Paper explained the returns that investors in the ICO would

21   make as follows: “[b]y taking part in the campaign (pre-ICO/ICO) participants will
22
     receive an 8% return (after all relative fees and expenses are deducted) of the total
23
24   trading revenue generated over a 24-hour span.” The White Paper further explained

25   mechanically how investors were to be paid their returns as follows: “The funds (in
26
     the form of GexCoin) will be distributed to the investors’ wallet via smart contract
27
28   upon the completion of every 24-hour period.”

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1           39.   The White Paper also represented that upon completion of the ICO,
2
     GexCoins would be “listed on four leading trading platforms.”
3
            40.   The GexCrypto website contained the following disclaimer: “While
4
5    most participants of any citizenship can join the ICO, unfortunately we are unable to
6
     accept participation from citizens or residents of the United States, Canada, China,
7
     and Taiwan due to existing regulations in their respective countries.” However,
8
9    GexCrypto’s website was not restricted in any way and was accessible to U.S.
10
     investors. Further, Ryn’s and GexCrypto’s solicitation of investors in GexCrypto and
11
12   the ICO was specifically targeted to U.S. investors, as described below.

13          41.   In addition to being advertised on the GexCrypto website, the ICO was
14
     advertised and promoted on Facebook, Twitter, Bitcointalk, and other social media
15
16   platforms. In order to generate additional interest in the ICO, GexCrypto hired a

17   group of online promoters via a Bitcointalk “bounty campaign,” paying them in
18
     GexCoin to hype the GexCrypto ICO via their own social media channels multiple
19
20   times each day. As a limited-time promotion, investors who signed up on the

21   gexcrypto.io website or who joined the GexCrypto Telegram group were also offered
22
     free GexCoins.
23
24   II.    Ryn Solicits Individual Investors for
            GexCrypto from the Filipino Community
25
26          42.   In addition to GexCrypto’s online solicitations, from approximately

27   October 27, 2017 through December 26, 2017, Ryn also directly solicited and
28

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1    recruited individual U.S. investors for GexCrypto and GexCoins through in person
2
     meetings and via Skype and telephone calls. During these solicitations, Ryn also
3
     directed investors to the GexCrypto website.
4
5          43.     As part of these solicitations, Ryn hosted and attended meetings around
6
     Orange County, California. As part of his efforts to portray GexCrypto as a
7
     successful operational business, Ryn handed out GexCrypto branded merchandise.
8
9          44.     At these meetings to promote GexCrypto and the ICO, Ryn walked
10
     through the proposed project, how to invest, and the discounts available for early
11
12   investing. During these meetings, Ryn consistently touted the profitability and safety

13   of investing in GexCrypto and GexCoins.
14
           45.     Ryn gained entrée to this group of investors through his initial contact
15
16   with Investors 1 and 2, who Ryn met in October 2017 at a “meet up” event in Irvine,

17   California for people interested in cryptocurrency. Investor 1 wanted to supplement
18
     his retirement income so that he was not dependent on social security. Investor 2 was
19
20   a home health aide who was seeking financial stability and to build a college fund for

21   her children. Investors 1 and 2, who are also Filipino, went to dinner with Ryn where
22
     they discussed their multilevel marketing business for investing in cryptocurrency,
23
24   and Ryn told them about GexCrypto. Despite their involvement in the multilevel

25   marketing business, Investors 1 and 2 had no background in cryptocurrency or digital
26
     technology.
27
28         46.     Following this meeting, Investors 1 and 2 introduced Ryn to friends and

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1    acquaintances in the Filipino community, who, like them, ultimately invested in
2
     GexCrypto. These investors included Investor 3—Investor 1’s daughter—Investor
3
     4—the godmother to Investor 2’s daughter—and a number of retirees.
4
5          47.    In one meeting at Investor 2’s apartment on or around October 27, 2017,
6
     Ryn pitched the investment to Investor 4 and Investor 5, both of whom were looking
7
     for stable income for retirement. Investor 4 understood from Ryn that if she
8
9    invested, she would earn a percentage of profits from trading and mining of
10
     cryptocurrency. She further understood that if she invested early, she would get “a
11
12   lot” of extra tokens.

13         48.    Based on Ryn’s representations at the meeting on or around October 27,
14
     2017, both Investor 4 and Investor 5 decided to invest. Investor 4 invested $9,000 in
15
16   cash, which she borrowed from her credit union, and Investor 5 invested $10,000 in

17   cash, which he had from the sale of a home in the Philippines. Both investments were
18
     recorded by hand, as well as those of other investors, on a hand-written “GexCrypto”
19
20   ledger provided by Ryn and safeguarded by Investor 2.

21         49.    During these meetings with prospective investors, Ryn touted the
22
     profitability and safety of investing in GexCrypto, telling potential investors that their
23
24   investments would double or triple in a short period of time. For example, Investors

25   4 and 5, both understood after the meeting on or around October 27, 2017, that their
26
     investments would multiply in a few months and that Ryn would return their entire
27
28   investment. Following her investment, Investor 4 texted with Ryn about GexCrypto,

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1    writing to Ryn on November 7, 2017 “Praying to God the GEX will Prosper” with
2
     Ryn responding the same day “It will for sure sis” (translated from Tagalog).
3
           50.    In late October 2017, Ryn met via a video chat with Investor 6, a retiree
4
5    looking for a steady and reliable investment to enhance her retirement funds, and
6
     Investor 7, a retiree also looking to supplement her retirement income, to discuss
7
     investing in GexCrypto. Again, Ryn touted the profitability and safety of investing in
8
9    GexCrypto. Ryn stated that GexCrypto tokens were currently worth $0.06 and that as
10
     the price of the tokens increased, so would the investors’ returns. Ryn also told
11
12   Investors 6 and 7 that if they invested prior to the deadline in mid-November 2017,

13   they would get an extra 30% bonus in tokens on their investment. Ryn further told
14
     Investor 6 she would be rich and could buy a car since her car was always breaking
15
16   down. Based upon Ryn’s representations and in order to receive bonus tokens, in

17   early November 2017, Investor 6 invested $7,000 in cash in GexCrypto and Investor
18
     7 invested $6,170 in cash and Bitcoin in GexCrypto.
19
20         51.    Ryn also promised certain investors stock in GexCrypto, although such

21   stock certificates were never issued. On October 15, 2017 and October 29, 2017, Ryn
22
     sent Investors 2 and 6, respectively, a copy of what a GexCrypto stock certificate
23
24   purportedly looked like. The undated, unsigned certificate identified GexCrypto

25   Trading Corp. as incorporated under the laws of Nevis and authorized to issue 1,000
26
     shares registered stock.
27
28         52.    Ryn only accepted investments in cash or crypto assets, telling investors

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1    that ICOs can only be invested in via cash or crypto assets. The majority of investors
2
     solicited in person paid Ryn in cash. Ryn raised just over $371,000 in cash and 2
3
     Bitcoins from 25 GexCrypto and GexCoin investors.
4
5    III.    Material Misrepresentations to GexCrypto Investors
6
             53.   As described above, Ryn and GexCrypto made materially false
7
     representations to investors online via the website and the White Paper and in-person
8
9    to individual investors about the operations of GexCrypto, GexCrypto’s experienced
10
     management team, and GexCrypto’s guaranteed returns.
11
12           54.   Ryn and GexCrypto knew or were reckless in not knowing that these

13   misrepresentations were false.
14
             55.   Despite portraying GexCrypto as an operational, world-class trading
15
16   platform with superior service and technology, the GexCrypto platform was never

17   built and was never operational. Accordingly, it had none of the features described in
18
     detail on the website, in the White Paper, in the YouTube video, and by Ryn, such as
19
20   user-support in six languages and enhanced security features.

21           56.   GexCrypto’s expert team of “the most trusted, reliable and experienced
22
     crypto veterans” as described in GexCrypto’s White Paper and portrayed on
23
24   GexCrypto’s website did not exist. As described above, GexCrypto’s purported

25   “CTO” (Chief Technology Officer) and GexCrypto’s purported “Director of
26
     Operation” were the two India-based developers Ryn met and hired online. Ryn’s
27
28   purported GexCrypto “co-founder,” the owner of a construction business, was merely

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1    an early investor who also had no experience in the crypto industry.
2
            57.   Ryn admitted in SEC testimony that the trading platform never existed
3
     and that the depictions in the YouTube video on GexCrypto’s website were false, but
4
5    that the video was published on GexCrypto’s website because he thought it “look[ed]
6
     kind of cool.”
7
            58.   Ryn’s promises to investors of profits from the trading business,
8
9    including representations in the White Paper that investors would receive an “8%
10
     return [ ] of the total trading revenue generated over a 24-hour span” and
11
12   representations to individual investors that their investments would double or triple,

13   were false. The trading platform did not exist.
14
     IV.    The Crypto Asset Mining Investment
15
16          59.   At the same time Ryn was pitching his fake trading platform to

17   investors, he offered the same group of Filipino investors another prospect to make
18
     money by investing in a purported crypto asset mining business (“the Mining
19
20   Operation”). Ryn told investors that he would pool their money to purchase mining
21   equipment, and they would be paid investment returns based upon the amount of
22
     Ethereum mined.
23
24          60.   Before a technological change in the Fall of 2022, the “ethereum” block
25   chain validated new blocks or transactions via a process known as “Mining,”
26
     whereby computers connected to the network could attempt to solve complex
27
28   computational problems required to validate a new block, in exchange for rewards in

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1    the form of “Eth,” the crypto asset that is the “native token” to the Ethereum
2
     blockchain. This process, known as “mining,” requires significant computational
3
     power, including potentially significant electrical power
4
5          61.    The investments in the purported crypto asset mining business were
6
     investment contracts and therefore securities.
7
           62.    Investor 1, now deceased, was particularly interested in learning more
8
9    about cryptocurrency and how to make money in the crypto world. Beginning in
10
     November 2017, Ryn and Investor 1 began discussing, including through text
11
12   messages, the potential mining business and the computer equipment needed to run

13   the mining business, as well as the need for investors to fund this potential mining
14
     business. For example, on November 20, 2017, Ryn texted Investor 1: “Elder
15
16   brother, let’s push for the big investors. Ethereum is about to take off” (partially

17   translated from Tagalog).
18
           63.    After searching for several weeks for locations to house the Mining
19
20   Operation, it was ultimately decided to set up the operation in Investor 1’s garage.

21   Although housed at Investor 1’s home, Ryn oversaw all aspects of the Mining
22
     Operation, including, collecting investor funds, purchasing the equipment, instructing
23
24   Investor 1 regarding the equipment, and responding to Investor 1’s frequent texts

25   with questions about how to operate the machines. Similarly, in March 2018, after
26
     Investor 1 passed away, Ryn instructed Investor 1’s daughter – Investor 3 – how to
27
28   operate the machines. All investors in the Mining Operation relied entirely on Ryn’s

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1    efforts for the enterprise to succeed, and Investors 1 and 3 acted solely at Ryn’s
2
     direction.
3
           64.    Ryn recruited investors for the Mining Operation through in-person
4
5    meetings, telephone calls and text messages.
6
           65.    For example, on November 20, 2017, Ryn texted Investor 6, writing
7
     “Are you familiar with mining ma’am?” (translated from Tagalog). She responded
8
9    “not yet” (translated from Tagalog), and he followed up by sending her images of
10
     mining equipment.
11
12         66.    During a video chat with Investors 6 and 7 in November 2017, Ryn

13   pitched the mining investment in more detail. Ryn told them that if they invested
14
     with him, he would use their money to buy crypto mining equipment and that the
15
16   investment provided a guaranteed return, since the mining happens around the clock.

17   Ryn declared that the minimum investment was $100,000, and he promised that their
18
     monthly returns would be $10K, $15K, $20K or even $50K, a promise Ryn repeated
19
20   to other investors. Investor 6 understood from the conversation with Ryn that she

21   would be able to withdraw her original investment after three months and leave the
22
     profits with Ryn, which he would use to buy more equipment. Ryn told her the
23
24   additional equipment would increase both the mining capacity and her future returns.

25         67.     Ryn’s promises of guaranteed returns to investors in the Mining
26
     Operation were false. By mid-December, Ryn had purchased some crypto mining
27
28   equipment, but only some of it was operational. Moreover, the business was not

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1    generating the profits that Ryn was promising to investors – a minimum of $10,000
2
     per month. No profits were ever distributed to investors.
3
           68.    Ryn again only accepted cash from investors for the Mining Operation,
4
5    some of whom were in Northern California. As a result, on multiple occasions Ryn
6
     drove from Irvine to San Francisco to pick up large amounts of cash from investors,
7
     including on January 6, 2018, when he collected $48,000 in cash from Investor 7 and
8
9    in a trip on or around February 22 – February 24, 2018, Ryn collected an additional
10
     $100,000 in cash from Investor 6. Upon Investor 7’s insistence, Ryn signed a receipt
11
12   acknowledging the $48,000 investment.

13         69.    Ryn showed up to pick up Investor 6’s payment in February 2018 in his
14
     Maserati, allowing Investor 6 and other investors to take pictures of themselves with
15
16   the car. Ryn sent copies of these photos to various investors.

17         70.    Ryn raised at least $448,500 from seven investors for the Mining
18
     Operation. Investor 1 took out a $200,000 home equity loan and sold property in the
19
20   Philippines in order to invest in the Mining Operation. Investor 2 used the funds she

21   was saving for her children’s college education to invest $100,000. When Investor 5
22
     told Ryn he had no more money to invest in the Mining Operation, Ryn tried to
23
24   convince him to hand over the deed to a property he owned in the Philippines.

25   Investor 6 took out a $90,000 home equity loan in order to make a $100,000
26
     investment in the Mining Operation. Investor 7 withdrew $48,000 from her 401K to
27
28   invest in the Mining Operation.

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1            71.    At the same time that Ryn was obtaining money from investors in cash
2
     for GexCrypto, GexCoins and the Mining Operation, he made several large purchases
3
     of luxury items in cash, including a $52,000 Maserati in November 2017, a vacation
4
5    to Hawaii with his family in December 2017, and a $7,000 Rolex watch in March
6
     2018.
7
             72.    After obtaining money from the Mining Operation investors, Ryn
8
9    engaged in lulling conduct by making multiple additional material misrepresentations
10
     to investors regarding the business. These include Ryn telling investors he: (1) was
11
12   moving the mining business to Las Vegas because of lower electricity costs; (2) had

13   been visiting and researching locations in Las Vegas, including a solar farm; and (3)
14
     had ultimately secured a warehouse in Las Vegas for the Mining Operation. These
15
16   statements regarding moving the Mining Operation to Las Vegas were false – Ryn

17   did not visit any locations in search of a location and never secured a space in Las
18
     Vegas.
19
20           73.    Ryn knowingly or recklessly made these material misrepresentations to

21   investors.
22
     V.      Defendants’ Continued Deception and Misrepresentations
23
24           74.    When none of the promised returns for GexCrypto and the Mining

25   Operation materialized, investors began pressing Ryn for information regarding their
26
     investments.
27
28           75.    In order to keep the fraud from being exposed, Ryn knowingly or

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1    recklessly engaged in additional deception and lies. These include: (1) creating and
2
     distributing a worthless new digital coin to investors that Ryn passed off as a
3
     GexCoin; (2) telling investors he was traveling to the Philippines to meet with
4
5    Filipino regulators about GexCrypto; and (3) providing a fraudulent bank statement
6
     to two investors as proof that their promised investment distribution was forthcoming.
7
           A.     Ryn Provided Alternative, Worthless Tokens
8
9          76.    In the spring of 2018, as investors repeatedly questioned Ryn for updates
10
     regarding their investments, and with no promised returns to pay investors from
11
12   either GexCrypto or the Mining Operation, Ryn created a second token

13   “GeXCHANGE.”
14
           77.    GeXCHANGE is a unique digital token existing on a separate smart
15
16   contract than GexCoin. Ryn learned how to make the tokens from searching the

17   internet for how to create a digital token days before distributing the coins to
18
     investors.
19
20         78.    Despite the fact that the GeXCHANGE token was a completely different

21   token than the GexCoin, Ryn passed the GeXCHANGE token off as the GexCoin,
22
     including that the GeXCHANGE tokens were investors’ promised distributions from
23
24   GexCrypto and the Mining Operation and that the GeXCHANGE tokens had the

25   same value as the GexCoin.
26
           79.    Ryn made a large distribution of the GeXCHANGE tokens to Investor 3,
27
28   who distributed them to the other investors following Ryn’s instructions.

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1          80.   For example, on April 18, 2018, Ryn texted Investor 3 with instructions
2
     regarding how to distribute the GeXCHANGE tokens to investors and how many
3
     tokens each investor should receive based upon the amount of their investments in
4
5    GexCrypto and the Mining Operation. Ryn never told Investor 3 that the tokens he
6
     was directing her to distribute to investors were not GexCoins, but GeXCHANGE
7
     tokens instead.
8
9          81.   On April 19, 2018, Ryn distributed 20,000 GeXCHANGE tokens to
10
     Investor 6’s cryptocurrency wallet and informed Investor 6 that it had been done.
11
12   Ryn never told Investor 6 that the 20,000 tokens he distributed were GeXCHANGE

13   tokens and not GexCoins.
14
           82.   Ryn continued distributing and having the GeXCHANGE tokens
15
16   distributed, over 8.5 million GeXCHANGE tokens, to investors into at least June

17   2018 without informing them that they were not GexCoins.
18
           83.   Ryn made representations earlier to investors regarding the value of the
19
20   GexCoin, including, for example to Investor 6 on April 16, 2018 that 1,000 GexCoin

21   were worth “$110 right now. 300,000 gex equals $33k,” and to other investors that
22
     the GexCoin was worth $0.11, when distributing the GeXCHANGE tokens to
23
24   investors. These statements were materially misleading as Ryn never informed them

25   that those purported values did not apply to the GeXCHANGE tokens, because it was
26
     not the same token.
27
28

      COMPLAINT                                  23
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1          B.     Ryn’s Fake Trip to the Philippines
2
           84.    In the spring of 2018, as investors continued to press Ryn for updates
3
     regarding their investments, Ryn told investors that he was traveling to the
4
5    Philippines to discuss registering the trading platform with the Central Bank of
6
     Philippines and the Filipino securities regulators.
7
           85.    For example, on May 3, 2018, Ryn texted Investor 6, writing “I will be
8
9    in the Philippines next week for gexcrypto to talk to the SEC for the exchange”
10
     (translated from Tagalog). Ryn further explained in the same text message chain with
11
12   Investor 6 that there would not be any distributions from the Mining Operation that

13   month because the operation would be delayed while he was in the Philippines.
14
           86.    Similarly, on May 2, 2018, Ryn texted Investor 4, “Going to Philippines
15
16   next -week to talk with security and exchange commission then central bank of

17   philippines to present the trading platform. This very good news for all of us.” In a
18
     May 8, 2018 text message told Investor 4 that he was on a “4 pm flight [out of] John
19
20   Wayne airport” and flying “United to Hawaii then Hawaii airline to Manila.”

21         87.    Later in May, when investors reach out for updates, in response, they
22
     received texts purportedly from Ryn’s son that his father has been hospitalized in
23
24   Manila and would not be home until the following week.

25         88.    Ryn’s statements to investors regarding his trip to the Philippines and his
26
     meetings with Filipino regulators about GexCrypto were false, which Ryn admitted in
27
28   SEC testimony. Ryn also admitted in testimony that he does not even have a valid

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1    passport to travel abroad.
2
             C.    Ryn Falsified a Bank Statement
3                  and Provided It to Certain Investors
4
             89.   Ryn’s deceit to investors culminated in his creating and distributing a
5
     fraudulent bank statement to two investors, Investors 6 and 7, to try to convince them
6
7    that after repeated delays in payment, the investors’ distribution of profits was on the
8
     way.
9
10           90.   Upon request from Ryn and in order for Ryn to make her and Investor

11   7’s promised, but yet unpaid, monthly mining distribution, on July 4, 2018, Investor 6
12
     provided Ryn via text with bank account information for her and Investor 7. The next
13
14   day, Ryn replied to Investors 6 and 7 that he had received the bank information and

15   the distribution was coming “tomorrow.”
16
             91.   After not receiving the distribution as promised, Investor 6 continued to
17
18   press Ryn as to where it was. In response, on July 7, 2018, Ryn texted Investor 6 that

19   the distribution would be made on Monday, July 9, 2018 around noon. When the
20
     distribution still had not been made by that date, Investor 6 again followed up with
21
22   Ryn. Ryn initially told Investor 6 via text on July 9, 2018 that he would make the

23   deposit later that day. However, later that day, Ryn informed Investor 6 that he could
24
     not make the deposit because “Ma'am Chase doesn't accept non customer deposit.
25
26   They don't allow. You can call your bank to verify it. I have Citibank” (partially

27   translated from Tagalog). Ryn informed Investor 6 that the following day, he would
28

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1    open a Chase bank account and make the deposit.
2
           92.    Ryn’s representation to Investor 6 that he had a bank account at Citibank
3
     was false. At the time, Ryn did not have any bank accounts because of his history of
4
5    bouncing checks. However, Ryn had access to his son’s bank account at Chase. Ryn
6
     put that access to use, emailing to himself on July 10, 2018, a copy of a recent bank
7
     statement from his son’s Chase bank account. The account statement showed that the
8
9    account was overdrawn by $161.47.
10
           93.    That day, Ryn altered the same bank statement in order to reflect that (i)
11
12   he was the account holder; (ii) the address on the account was his previous address in

13   California, rather than his current one in Las Vegas where he was living with his son
14
     and other family members; and (iii) a pending deposit of $125,000.
15
16         94.    Later on July 10, 2018, Ryn sent an image of the fraudulent bank

17   statement via text to Investor 6, telling her that once the $125,000 deposit cleared he
18
     would make an online transfer to her and Investor 7.
19
20         95.    When the promised online transfer did not occur, Investor 6 again

21   followed up with Ryn via texts on July 11 and July 15, asking when the transfer
22
     would be completed. Ryn repeated his lies, telling Investor 6 “Don’t you worry. It
23
24   should be good tomorrow” (translated from Tagalog).

25         96.    In an additional lie to Investors 6 and 7 about the promised payment, on
26
     July 16, 2018, Ryn texted them to say that the transfer “was done [at] midnight,”
27
28   (translated from Tagalog) and to thank them for waiting.

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1           97.   No transfer was ever made to Investors 6 and 7. Neither Investors 6 and
2
     7 nor any of the other investors received any distribution of profits from their
3
     investments in either the Mining Operation or GexCrypto.
4
5    VI.    The GexCrypto, GexCoin, and
            Mining Operation Investments Were Securities
6
7           98.   The investments in GexCrypto, GexCoin, and the Mining Operation
8
     were investment contracts and therefore securities, the offer or sale of which was not
9
10   registered with the Commission, as required by the federal securities laws. Neither

11   the GexCrypto nor GexCoin securities were exempt from registration.
12
            99.   GexCrypto and GexCoin investors tendered cash and crypto assets into
13
14   a common enterprise, with the reasonable expectation that they would receive a profit

15   based upon Ryn’s and the GexCrypto team’s running of a successful crypto asset
16
     trading platform and based upon Ryn’s overseeing of a successful mining operation.
17
18   Investments in GexCrypto, including through the purchase of GexCoins—which

19   embodied the investment opportunity into GexCrypto’s trading platform business and
20
     as such were offered and sold as investment contracts and therefore securities as that
21
22   term is defined under Section 2(a)(1) of the 33 Act—were repeatedly described and

23   marketed as “investments.” Investments in the Mining Operation were similarly
24
     marketed as an opportunity to profit from Ryn’s oversight of the Mining Operation
25
26   which included Ryn’s pooling of investor funds for the purchase of mining

27   equipment, and distributing profits to investors to investors based upon the amount of
28

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1    ETH successfully mined.
2
           100. The GexCrypto and GexCoin investment offerings did not qualify for
3
     any exemption to the securities registration requirements, and neither Ryn nor
4
5    GexCrypto sought any such exemption.
6
                                             COUNT I
7
     Unregistered Offers and Sales of Securities in Violation of Sections 5(a) and 5(c)
8                                 of the Securities Act
9
           101. The SEC realleges and incorporates by reference paragraphs 1 through
10
11   100, inclusive, as if they were fully set forth herein.

12         102. As a result of the conduct alleged herein, Defendants GexCrypto and
13
     Ryn directly or indirectly, made use of the means or instruments of transportation or
14
15   communication in interstate commerce or of the mails, to offer to sell or to sell

16   securities, or to carry or cause such securities to be carried through the mails or in
17
     interstate commerce for the purpose of sale of delivery after sale.
18
19         103. No valid registration statement has been filed with the Commission or

20   has been in effect with respect to any offering or sale alleged herein. There was no
21
     exemption applicable for the offer and sale of the GexCrypto or GexCoin securities
22
23   from the registration requirements of the Securities Act.

24         104. By engaging in the foregoing conduct, GexCrypto and Ryn violated, and
25
     unless restrained and enjoined will continue to violate, Sections 5(a) and 5(c) of the
26
27   Securities Act [15 U.S.C. §§ 77e(a) and 77e(c)].

28

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1                                           COUNT II
2
                   Fraud in Violation of Section 17(a) of the Securities Act
3
           105. The SEC realleges and incorporates by reference paragraphs 1 through
4
5    100, inclusive, as if they were fully set forth herein.
6
           106. By engaging in the conduct described above, Defendants, and each of
7
     them, directly or indirectly, in the offer or sale of securities, and by the use of means
8
9    or instruments of transportation or communication in interstate commerce or by use
10
     of the mails directly or indirectly: (a) employed devices, schemes, or artifices to
11
12   defraud; (b) made untrue statements of a material fact or by omitting to state a

13   material fact necessary in order to make the statements made, in light of the
14
     circumstances under which they were made, not misleading; and (c) engaged in
15
16   transactions, practices, or courses of business which operated or would operate as a

17   fraud or deceit upon the purchaser.
18
           107. By engaging in the conduct described above, Defendants each violated,
19
20   and unless restrained and enjoined will continue to violate, Section 17(a) of the

21   Securities Act, 15 U.S.C. § 77q(a).
22
                                            COUNT III
23
24        Fraud in Violation of Section 10(b) of the Exchange Act and Rule 10b-5

25         108. The SEC realleges and incorporates by reference paragraphs 1 through
26
     100, inclusive, as if they were fully set forth herein.
27
28         109. By engaging in the conduct described above, Defendants, and each of

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1    them, directly or indirectly, in connection with the purchase or sale of a security, and
2
     by the use of means or instrumentalities of interstate commerce, of the mails, or of
3
     the facilities of a national securities exchange: (a) employed devices, schemes, or
4
5    artifices to defraud; (b) made untrue statements of a material fact or omitted to state a
6
     material fact necessary in order to make the statements made, in the light of the
7
     circumstances under which they were made, not misleading; or (c) engaged in acts,
8
9    practices, or courses of business which operated or would operate as a fraud or deceit
10
     upon other persons.
11
12         110. By engaging in the conduct described above, Defendants each violated,

13   and unless restrained and enjoined will continue to violate, Section 10(b) of the
14
     Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-5.
15
16                                  RELIEF REQUESTED

17         WHEREFORE, the Commission respectfully requests the Court find that
18
     Defendants committed the violations charged and that, as a result of these violations,
19
20   Defendants received ill-gotten gains; and enter judgments:

21                                               I.
22
                                     Permanent Injunctions
23
24         Permanently restraining and enjoining Defendants, their officers, agents,

25   servants, employees, attorneys, and all persons in active concert or participation with
26
     them, and each of them, from directly or indirectly violating the federal securities
27
28   laws alleged in this Complaint; and further permanently restraining and enjoining

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1    Defendant Ryn, his officers, agents, servants, employees, attorneys, and all persons in
2
     active concert or participation with him, and each of them, from directly or indirectly,
3
     including, but not limited to, through any entity owned or controlled by him,
4
5    participating in the issuance, purchase, offer, or sale of any security, provided
6
     however, that such injunction shall not prevent him from purchasing or selling
7
     securities for his own personal account.
8
9                                                 II.
10
                                           Disgorgement
11
12         Ordering Defendants to disgorge on a joint and several basis, with prejudgment

13   interest, the net profits they received from their ill-gotten gains as a result of the acts
14
     or courses of conduct alleged in this Complaint, pursuant to Section 21(d)(7) of the
15
16   Exchange Act [15 U.S.C. § 78u(d)(7)].

17                                               III.
18
                                              Penalties
19
20         Ordering Defendants to pay on a joint and several basis civil penalties pursuant

21   to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the
22
     Exchange Act [15 U.S.C. § 78u(d)(3)];
23
24                                               IV.

25                                   Officer and Director Bar
26
           Prohibiting Defendant Ryn from acting as an officer or director of any issuer
27
28   that has a class of securities registered with the Commission pursuant to Section 12 of

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1    the Exchange Act [15 U.S.C § 78l] or that is required to file reports pursuant to
2
     Section 15(d) of the Exchange Act [15 U.S.C § 78o(d)], pursuant to Section 20(e) of
3
     the Securities Act [15 U.S.C. § 77t(e)] and Section 21(d)(2) of the Exchange Act [15
4
5    U.S.C § 78u(d)(2)].]; and
6
                                                 V.
7
                                           Further Relief
8
9             Granting such other and further relief as the Court determines to be necessary
10   and appropriate.
11
                                                 VI.
12
                                     Retention of Jurisdiction
13
14            Further, the Commission respectfully requests the Court retain jurisdiction over
15
     this action and over Defendants in order to implement and carry out the terms of all
16
17   orders and decrees that may hereby be entered, or to entertain any suitable application

18   or motion by the Commission for additional relief within the jurisdiction of this
19
     Court.
20
21   Dated: February 6, 2023                           Respectfully submitted,

22
23                                                     /s/ James M. Carlson
                                                       JAMES M. CARLSON
24                                                     Supervisory Trial Counsel
25                                                     (DC Bar No. 981364)
                                                       Securities and Exchange Commission
26                                                     100 F. Street, NE
27                                                     Washington, DC 20549
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28                                                     Fax: 703-813-9314
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3                                         Exchange Commission
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